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                           UNITED STATES DISTRICT COURT FOR
                              THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                        *
                                                *       CRIMINAL NO. LO-19-0449
                  v.                            *
                                                *
KENNETH WENDELL RAVENELL,                       *
JOSHUA REINHARDT TREEM, and                     *
SEAN FRANCIS GORDON,                            *
                                                *
                  Defendants.                   *



                       DEFENDANT RAVENELL’S PROPOSED VOIR DIRE

       Defendant Kenneth Ravenell, by and through counsel, respectfully submits the following

proposed voir dire questions to be posed to the jury pool in addition to the Court’s standard voir

dire questions:

Education:

       1.         How far did you go in school?

       2.         If you received (or are seeking) a college or post-graduate degree, what degrees

did you receive (or are you seeking), and what was (is) your major or area of study?

       3.         Have you attended law school, paralegal training, or had any other form of legal

education?

Employment:

       4.         What is your current employment status?

       5.         If you are currently working or have ever worked, what is your current or most

recent line of work?

       6.         Have you, a family member, or a close friend ever worked in the legal industry?


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         7.      Have you, family members or close friends ever worked or applied for a job in

law enforcement, including the DEA? If yes, please when, with what agency, and in what

capacity.

         8.      Have you, family members or close friends ever worked or applied for a job in the

United States Department of Justice? If yes, please when, with what agency, and in what

capacity.

         9.      Have you, family members or close friends ever worked or applied for a job in the

United States Internal Revenue Service (IRS)? If yes, please when, with what agency, and in

what capacity.

         10.     Have you, any member of your family, or any of your close friends ever been

employed by the United States Attorney’s Office, the Office of the Attorney General, any state’s

Attorney’s Office, any other prosecutor’s office, any law enforcement agency, state or federal,

including any police department, or any law firm, any criminal defense office, public defender’s

office, or other business which provides services to persons charged or convicted of a crime?

         11.     Have you ever worked for or applied for a job in any governmental agency

besides law enforcement? If so, please describe when, with what agency, and in what capacity.

Legal Industry and Criminal Defense:

         The next series of questions deal with legal issues. If you have an affirmative answer to

any of these questions, please identify yourself and we will take your answers in private at the

bench.

         12.     Have you, any member of your family, or any of your close friends ever been

involved in any legal dispute with the federal, state, or local government or any agency thereof,

including the DEA or IRS?

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       13.        Have you, any member of your family, or any of your close friends ever been the

victim of a crime, a witness to a crime, or a witness for the prosecution or defense in any

criminal trial?

       14.        Have you, any member of your family, or any of your close friends ever been

charged, arrested, or accused of criminal conduct or ever been the subject of a criminal

investigation?

       15.        Have you ever served on a grand jury in either state or federal court?

       16.        Have you ever served as a juror at the trial of a criminal case in either state or

federal court?

Media Use:

       17.        What newspapers, or news website do you get your news from?

       18.        What national news programs do you regularly watch?

       19.        What television stations do you watch for local news?

       20.        What radio station(s) do you listen to most often?

       21.        What non-news television programs do you watch regularly?

       22.        How often do you use the Internet?

       23.        If you use the Internet for social networking, which social networking websites

and/or applications to you use?

       24.        If you use the Internet for social networking, how often do you do this?

       25.        If you use the Internet and are chosen to be a juror in this case, you will be

instructed that you will not be able to do Internet research on any issues in the case or

communicate with others about your jury service. Is this an instruction that you will be able to

follow?

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Drugs:

         26.   Have you, any member of your family, or any of your close friends ever used

marijuana?

         27.   Have you, any member of your family, or any of your close friends ever had any

problems relating to drugs, including drug addiction, or a drug-related arrest or conviction?

         28.   Do you have strong feelings concerning a person’s alleged possession, sale or use

of any controlled substances, including marijuana?

         29.   Do you hold any negative views of lawyers who represent people charged with

serious drug-related offenses?

Other:

         30.   Mr. Ravenell is an African-American male. Do you hold any bias or prejudice

towards African-Americans, or African-American males specifically?

         31.   Have you or any one in your immediate family ever performed any voluntary

services on behalf of any law enforcement agency?

         32.   Have you or any one in your immediate family ever donated money to any law

enforcement agency?

         33.   Would any of you be more or less likely to believe a law enforcement officer than

a civilian witness, solely because he or she is a law enforcement officer?

         34.   Do you believe that evidence produced by a Defendant in his defense is less

credible than the evidence produced by the Government?

         35.   Do you believe that if a Defendant testifies, that Defendant’s testimony is less

credible than any other witness?




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          36.   Does any member of the jury panel believe that a defendant would not be here in

court unless he had done something wrong?

          37.   Do you believe that, merely because a criminal charge has been brought against

the defendant, you should consider the defendant to be guilty and as such would tend to find him

guilty?

          38.   Do you understand that the government has the burden of proof in this and every

criminal case to prove beyond a reasonable doubt all elements of each offense charged, and that

the defendant has no burden of coming forward with any evidence in order to establish his

innocence? In other words, one of the fundamental principles of our legal system is that when a

person is brought to court and charged with a crime, that person is presumed innocent unless and

until proven guilty beyond a reasonable doubt. If you are selected as a juror in this case, will any

of you have difficulty in accepting and applying the rule of law that an accused is presumed

innocent?

          39.   Does everyone understand that an indictment is simply a device to bring the

defendant to trial, and that it is not to be considered by you as proof or evidence that he is guilty?

          40.   The defendant need not testify, need not offer any evidence, and may, in fact,

stand mute, since he stands presumed innocent. Does anyone here feel a defendant should testify

or put forth evidence on his own behalf before you could find him not guilty?

          41.   If you came to the conclusion that the government had not proven the guilt of the

defendants beyond a reasonable doubt and you found that the majority of the jurors believed the

defendants guilty, would you change your verdict solely because you were in the minority?

          42.   Have you received a vaccination for COVID-19?




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       43.     Do you have strong feelings against the use of face masks, or strong feelings

about state or local mandates requiring the use of face masks, to prevent the transmission of

communicable diseases or viruses, such as COVID-19?

       44.     This trial is likely to last three to six weeks. Are there any special burdens or

problems that serving on this jury for this length of time would have on you?

       45.     The Court in this trial is expected to sit from 9 AM until 6 PM, Monday through

Friday. Are there any special burdens or problems, including transportation issues, that would

prevent you from being able to serve as a juror in this case?

       46.     Does any member of the panel have any physical or medical problem such as

visual or hearing difficulty or any other physical or medical reason that would prevent you from

being able to serve as a juror in this case?

       47.     Is there any reason why you, if accepted as a juror in the trial in this case, would

be unable to render a fair and impartial verdict based solely upon the evidence produced during

the course of the trial and in accordance with the Court’s instructions as to the law?




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November 30, 2021                  Respectfully submitted,

                                   SCHULTE ROTH & ZABEL LLP

                                      /s/ Aislinn Affinito
                                   ___________________________________________________________________

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                                      /s/ Lucius Outlaw
                                   ___________________________________________________________________

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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 30th day of November, 2021, I caused a copy of the Motion to

Seal to be served upon counsel for the United States of America via email.




                                                              /s/ Aislinn Affinito
                                                           ___________________________________________________________________

                                                           Aislinn Affinito
                                                           Attorney for Kenneth Ravenell




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